Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.1 Page 1 of 10



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 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                              SOUTHERN DISTRICT OF CALIFORNIA
 9

10
      LINDA D. SWARTZLANDER,                       Case No. '19CV0580 WQHBGS
11
                        Plaintiff,                 COMPLAINT FOR DAMAGES
12
             v.                                    1. VIOLATION OF THE FAIR DEBT
13                                                 COLLECTION PRACTICES ACT, 15 U.S.C.
                                                   §1692 ET SEQ.
14    CAPITAL MANAGEMENT SERVICES,
      LP,                                          2. VIOLATION OF THE ROSENTHAL FAIR
15                                                 DEBT COLLECTION PRACTICES ACT,
                        Defendant.                 CAL. CIV. CODE §1788 ET SEQ.
16
                                                   DEMAND FOR JURY TRIAL
17

18
                                              COMPLAINT
19
            NOW comes LINDA D. SWARTZLANDER (“Plaintiff”), by and through her attorneys,
20
21   WAJDA LAW GROUP, APC (“Wajda”), complaining as to the conduct of CAPITAL

22   MANAGEMENT SERVICES, LP (“Defendant”) as follows:
23                                       NATURE OF THE ACTION
24      1. Plaintiff brings this action against Defendant pursuant to the Fair Debt Collection Practices
25
     Act (“FDCPA”) under 15 U.S.C. §1692 et seq., and the Rosenthal Fair Debt Collection Practices
26
     Act (“RFDCPA”) under Cal. Civ. Code §1788, for Defendant’s unlawful conduct.
27
                                        JURISDICTION AND VENUE
28
                                                      1
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.2 Page 2 of 10



 1         2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C. §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant
 4
     to 28 U.S.C. §1367.
 5
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 6

 7   in the Southern District of California, and a substantial portion of the events or omissions giving

 8   rise to the claims occurred within the Southern District of California.

 9                                                        PARTIES
10         4. Plaintiff is a consumer over-the-age of 18 residing in San Diego County, California, which
11
     lies within the Southern District of California.
12
           5. Plaintiff is a natural “person” as defined by 47 U.S.C. §153(39).
13
           6. Defendant promotes itself as “a nationally licensed and recognized collections agency[.]”1
14

15   Defendant is a collection agency organized under the laws of the state of Delaware with its principal

16   place of business located at 698 ½ S. Ogden St., Buffalo, New York 14206-2317.

17         7. Defendant is a “person” as defined by 47 U.S.C. §153(39).
18
           8. Defendant acted through its agents, employees, officers, members, directors, heirs,
19
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
20
     relevant to the instant action.
21

22                                              FACTUAL ALLEGATIONS

23         9. The instant action stems from Defendant’s attempts to collect upon a past due consumer

24   debt (“subject debt”) purportedly owed by Plaintiff.
25         10. Plaintiff has retained counsel to declare bankruptcy and has alerted her creditors to contact
26
     her attorney.
27

28   1
         http://www.cms-collect.com/index.php/about-us/
                                                             2
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.3 Page 3 of 10



 1       11. On or around March 16, 2019, Defendant mailed or caused to be mailed a “dunning letter”
 2   to Plaintiff’s attorney in an attempt to collect upon the subject debt.
 3
         12. This “dunning” letter provided the language required under § 1692g of the FDCPA,
 4
     including the portion: “Unless you notify this office within 30 days after receiving this notice that
 5
     you dispute the validity of the debt or any portion thereof, this office will assume this debt is valid.”
 6

 7       13. Thereafter, on or about March 19, 2019, Defendant mailed or caused to be mailed to

 8   Plaintiff’s attorney an additional “dunning” letter substantially similar to the March 16, 2019 letter,

 9   which also included the subject debt.
10       14. The March 19, 2019 letter contained the same language: “Unless you notify this office
11
     within 30 days after receiving this notice that you dispute the validity of the debt or any portion
12
     thereof, this office will assume this debt is valid.”
13
         15. Debt collection letters received by a consumer’s attorney have the same effect as if they had
14

15   been received by the consumer personally. Bishop v. Ross Earle & Bonan, P.A., 817 F.3d 1268,

16   1272 (11th Cir. 2016) (“The attorney is a conduit to the consumer; thus, a debt-collection letter sent

17   to the consumer's attorney is an indirect communication with the consumer.”).
18
         16. This subsequent “dunning” letter and the conflicting information evident in all letters is
19
     inherently confusion and misinforms consumers as to the correct deadline to dispute the subject
20
     debt.
21
         17. Plaintiff spoke with Wajda regarding the correspondences resulting in pecuniary loss and
22

23   expenditure of resources.

24       18. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
25   limited to, invasion of privacy, confusion, and aggravation.
26
                 COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
27
         19. Plaintiff repeats and realleges paragraphs 1 through 18 as though fully set forth herein.
28
                                                         3
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.4 Page 4 of 10



 1         20. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
 2         21. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
 3
     use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
 4
           22. Defendant identifies itself as a debt collector, and is engaged in the business of collecting
 5
     or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed
 6

 7   or due to others. Defendant has been a member of the Association of Credit and Collection

 8   Professionals, an association of debt collectors, since 2007.2

 9         23. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction
10   due or asserted to be owed or due to another for personal, family, or household purposes.
11
                 a. Violations of FDCPA § 1692e
12
           24. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
13
     deceptive, or misleading representation or means in connection with the collection of any debt.”
14

15         25. In addition, this section enumerates specific violations, such as:

16                  “The false representation of . . . the character, amount, or legal status of any debt .
                    . . .” 15 U.S.C. §1692e(2)(A).
17
                    “The use of any false representation or deceptive means to collect or attempt to
18                  collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
                    §1692e(10).
19
           26. Defendant violated §1692e, e(2)(A), and e(10) through the conflicting information
20
21   contained in the multiple dunning letters it sent to Plaintiff. Upon sending the first dunning letter

22   to Plaintiff on March 16, 2019, Defendant provided the requisite information regarding the

23   timeframe within which Plaintiff must dispute the subject debt, lest the subject debt be assumed
24
     valid. The similar representations made in the second dunning letter sent in March 19, 2019 is
25
     confusing to consumers as it misrepresents their rights under the FDCPA to dispute a debt. The
26
27

28   2
         https://www.acainternational.org/search#memberdirectory
                                                                4
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.5 Page 5 of 10



 1   FDCPA provides consumers with the right and ability to dispute debts to debt collectors within 30
 2   days of receiving an initial dunning notice. Consequently, consumers are potentially waiving their
 3
     ability to dispute a debt by relying on a false, subsequent validation notice received within the
 4
     original dunning letter’s 30 day period, as the second dunning letter falsely suggest to consumers
 5
     that they have additional time to dispute a debt.
 6

 7      27. Defendant’s false, misleading, and conflicting statements had the material effect of

 8   confusing Plaintiff as to her rights. Moreover, by sending multiple dunning letters, Defendant

 9   purposefully intended to create a false sense of urgency in Plaintiff with the hopes of securing
10   payment.
11
             b. Violations of FDCPA § 1692f
12
        28. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
13
     unconscionable means to collect or attempt to collect any debt.”
14

15      29. Defendant violated §1692f by employing unfair means to collect the subject debt from

16   Plaintiff. Specifically, it was unfair for Defendant to send collection letters structured in a way to

17   confuse Plaintiff as to her rights under the FDCPA and the nature of her alleged liability on the
18
     subject debt.
19
             c. Violations of FDCPA § 1692g
20
        30. The FDCPA, pursuant to 15 U.S.C. §1692g(b), provides that “[i]f the consumer notifies
21
     the debt collector in writing within the thirty-day period described in subsection (a) that the debt, or
22

23   any portion thereof, is disputed, or that the consumer requests the name and address of the

24   original creditor, the debt collector shall cease collection of the debt, or any disputed portion
25   thereof, until the debt collector obtains verification of the debt or a copy of a judgment, or the name
26
     and address of the original creditor, and a copy of such verification or judgment, or name and
27
     address of the original creditor, is mailed to the consumer by the debt collector. Collection
28
                                                         5
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.6 Page 6 of 10



 1   activities and communications that do not otherwise violate this subchapter may continue during
 2   the 30-day period referred to in subsection (a) unless the consumer has notified the debt collector in
 3
     writing that the debt, or any portion of the debt, is disputed or that the consumer requests the name
 4
     and address of the original creditor. Any collection activities and communication during the 30-day
 5
     period may not overshadow or be inconsistent with the disclosure of the consumer’s right to dispute
 6

 7   the debt or request the name and address of the original creditor.”

 8      31. Defendant violated §1692g(b) by sending multiple dunning letters, thus misrepresenting

 9   Plaintiff’s rights under the FDCPA. Once the consumer receives the validation notice---irrespective
10   of when the “initial communication” actually occurred---the thirty-day clock begins ticking. 15
11
     U.S.C. § 1692g(b); see also, Vayngurt v. Sw. Credit Sys., L.P., 2016 U.S. Dist. LEXIS 142680, at
12
     *13 (E.D.N.Y. Oct. 14, 2016) (“if the plaintiff waits more than thirty days to attend to the matter,
13
     she loses many of her rights under the FDCPA.”) (quoting Harry v. Pentagroup Fin., LLC, 2007
14

15   U.S. Dist. LEXIS 17821, at *11 (E.D.N.Y. Mar. 14, 2007)). If the consumer disputes the debt in

16   writing within the thirty-day period, she triggers the statutory protections under § 1692g(b), and

17   the debt collector must cease collection. 15 U.S.C. § 1692g(b). If the consumer does not, she
18
     forfeits her statutory right “to demand the cessation of all collection activities.” Evans v. Portfolio
19
     Recovery Assocs., LLC, 889 F.3d 337, 348 (7th Cir. 2018). Consequently, Defendant’s second letter
20
     induces consumers to waive their rights under the FDCPA.
21
        WHEREFORE, Plaintiff, LINDA D. SWARTZLANDER, respectfully requests that this
22

23   Honorable Court enter judgment in her favor as follows:

24      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
25

26      b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
           §1692k(a)(2)(A);
27
        c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
28         under 15 U.S.C. §1692k(a)(1);
                                                    6
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.7 Page 7 of 10



 1
         d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
 2          §1692k(a)(3);
 3
         e. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
 4          consumer debt; and

 5       f. Awarding any other relief as this Honorable Court deems just and appropriate.
 6
           COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 7

 8       32. Plaintiff restates and realleges paragraphs 1 through 31 as though fully set forth herein.

 9       33. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).

10       34. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
11   and (f).
12
         35. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
13
                a. Violations of RFDCPA § 1788.17
14
         36. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that “Notwithstanding any other
15

16   provision of this title, every debt collector collecting or attempting to collect a consumer debt shall

17   comply with the provisions of Section 1692b to 1692j, inclusive of, and shall be subject to the

18   remedies in Section 1692k of, Title 15 of the United States Code.”
19
         37. As outlined above, through its attempts to collect upon the subject consumer debt,
20
     Defendant violated § 1788.17; and §§1692e, f, and g through its misrepresentations made in the
21
     dunning letters it sent to Plaintiff. As discussed above, Defendant’s sending of multiple dunning
22
     letters, within a 30 day period, misrepresents the character of the subject debt, Plaintiff’s state and
23

24   federal rights, and is a generally false and deceptive representation made in connection with the

25   collection of a debt.
26       38. Defendant willfully and knowingly violated the RFDCPA through its unlawful collection
27
     efforts. Defendant’s willful and knowing violations of the RFDCPA should trigger this Honorable
28
                                                        7
Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.8 Page 8 of 10



 1   Court’s ability to award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ.
 2   Code § 1788.30(b).
 3
        WHEREFORE, Plaintiff, LINDA D. SWARTZLANDER, respectfully requests that this
 4
     Honorable Court enter judgment in her favor as follows:
 5

 6      a. Declare that the practices complained of herein are unlawful and violate the aforementioned
           statute;
 7

 8      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);

 9      c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
           1788.30(b);
10
        d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
11         § 1788.30(c);
12
        e. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
13         consumer debt; and

14      f. Award any other relief as the Honorable Court deems just and proper.
15

16      Dated: March 29, 2019                     Respectfully submitted,
17
                                                  By: /s/ Nicholas M. Wajda
18                                                Nicholas M. Wajda
                                                  WAJDA LAW GROUP, APC
19                                                11400 West Olympic Boulevard, Suite 200M
                                                  Los Angeles, California 90064
20                                                Telephone: (310) 997-0471
21                                                Facsimile: (866) 286-8433
                                                  Email: nick@wajdalawgroup.com
22

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27

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                                                       8
                  Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.9 Page 9 of 10
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
LINDA D. SWARTZLANDER                                                                                       CAPITAL MANAGEMENT SERVICES, LP

    (b) County of Residence of First Listed Plaintiff             San Diego County                            County of Residence of First Listed Defendant
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Wajda Law Group, APC
11400 West Olympic Boulevard, Suite 200M, Los Angeles, CA 90064                                                                                        '19CV0580 WQHBGS
(310) 997-0471

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Fair Debt Collection Practices Act under 15 U.S.C. §1692 et. seq.
VI. CAUSE OF ACTION Brief description of cause:
                                           Defendant sent “dunning letters” to Plaintiff’s bankruptcy attorney in an attempt to collect upon subject debt
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
03/29/2019                                                              Nicholas M. Wajda
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
              Case 3:19-cv-00580-WQH-BGS Document 1 Filed 03/29/19 PageID.10 Page 10 of 10
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
